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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



 UNITED STATES OF AMERICA                               CASE NO. 2:22-mj-119

                 Plaintiff,
                                                        MAGISTRATE JUDGE DEAVERS
         v.

 JOHN W. WOODEN

                 Defendant.



          GOVERNMENT’S MOTION TO DISMISS CRIMINAL COMPLAINT

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of the

Court granted herein, the Criminal Complaint against Defendant John W. Wooden (Doc. #1) is

hereby dismissed without prejudice. After conferring with the Franklin County Prosecutor’s

Office, the government has concluded that alternatives to federal prosecution are available and

dismissal at this time would best serve the interests of justice.

                                                       Respectfully submitted,

                                                       KENNETH L. PARKER
                                                       United States Attorney


                                                       s/ Brian J. Martinez
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion to Dismiss Criminal Complaint was

filed through the Court’s ECF system and served upon Kevin Durkin, counsel of record for the

defendant, this 21st day of March 2022.


                                                  s/ Brian J. Martinez
                                                  BRIAN J. MARTINEZ (CA 224587)
                                                  Assistant United States Attorney




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